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                         UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF IOWA
                               CENTRAL DIVISION

Jennifer O’Neal
                                                      Case No. 4:14-cv-00287-CRW-RAW
       Plaintiff,

v.
                                                          NOTICE OF DISMISSAL
Mid Continent Credit Services, Inc.                         WITH PREJUDICE

       Defendant.


       Now comes Plaintiff, through counsel, and pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i),

hereby dismisses the present action with prejudice. This notice is being filed before Defendant

has filed an answer and therefore is appropriate for dismissal absent stipulation by all parties.



                                              RESPECTFULLY SUBMITTED,

                                              Hyslip & Taylor, LLC, LPA

                                              By:    /s/ J.D. Haas        _
                                              One of the Plaintiff’s Attorneys
                                              Of Counsel
                                              J.D. Haas, Esq.
                                              10564 France Avenue
                                              Bloomington, MN 55431
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                                              jdhaas@jdhaas.com




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 23, 2014, I electronically filed the foregoing Notice.

Service of this filing will be made by the Court’s ECF System upon the following:


Eric D. Bruce
Elizabeth A. Carson
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                                                                /s/ J.D. Haas       _




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